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                                                                         2018 Nov-21 PM 01:11
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION


DEMETRIA SPEARS,                      }
                                      }
      Plaintiff,                      }
                                      }
v.                                    }   Case No.: 1:17-cv-2115-ACA
                                      }
TRIDENT ASSET                         }
MANAGEMENT,                           }
                                      }
      Defendant.


                                  ORDER

      In accordance with the Joint Stipulation of Dismissal (Doc. 27), filed

November 21, 2018, the court hereby ORDERS that this action shall be, and is,

DISMISSED WITH PREJUDICE. The parties are to bear their own costs,

expenses, and attorney’s fees.


            DONE and ORDERED this November 21, 2018.



                                 _________________________________
                                 ANNEMARIE CARNEY AXON
                                 UNITED STATES DISTRICT JUDGE
